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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

EASTERN DIVISION
CARL E. TURNER, CASE NO. 2:06-cv-700
JUDGE SARGUS

Petitioner, MAGISTRATE JUDGE KING
Vv.
TIMOTHY BRUNSON, Warden, —

Respondent.

OPINION AND ORDER

 

On June 15, 2007, the Magistrate Judge issued a Report and Recommendation recommending
that the instant petition for a writ of habeas corpus pursuant to 28 U.S.C. §2254 be dismissed.
Petitioner has filed objections to the Magistrate Judge’s Report and Recommendation. Doc. No. 9.
Petitioner objects to all of the Magistrate Judge’s recommendation that all ofhis claims be dismissed
as procedurally defaulted.

Pursuant to 28 U.S.C. 636(b)(1), this Court has conducted a de novo review of the Report
and Recommendation. None of the cases referred to by petitioner alter this Court’s conclusion that,
for the reasons discussed in the Magistrate Judge’s Report and Recommendation, petitioner’s claims
are procedurally defaulted. Petitioner’s objections are OVERRULED. The Report and
Recommendation is ADOPTED and AFFIRMED. This action is hereby DISMISSED.

IT IS SO ORDERED.

EDMUND A. SARGUS, JR.
United States District Judge

 
